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USDC FLSD 2458 (Rev, 09/08)-Judm entinaCriminalCase                                                      P
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                                                 Southern DistrictofFlorida
                                                       M iam iDivision
   UN ITED STA TES O F A M ER ICA                             JUD G M ENT IN A C RIM INA L CA SE
                        V.
          M ARTIN EBENHACK                                    CaseNumber:16-20869-CR-M ORENO
                                                              USM Number:09569-104

                                                              CounselForDefendant:M anuelCasabielle
                                                              CounselForTheUnited States:CaryAronovitz
                                                              CourtReporter:G ildaPastor-llernandez
The defendantpleaded guilty to CountO N E ofthe Inform ation.

Thedefendantisadjudicatedguiltyoftheseoffenses:
TITLE & SECTION                    NATURE OF O FFENSE                                      O FFENSE        CO UNT
                                                                                           EN D ED
 18U.S.C.j               Receiptofvisualdepictionofaminorengagedin          (
j2252(a)92),(b)(1)      Isexuallyexplicitconduct                             jgyajutljy oxE
The defendantis sentenced as provided in the following pages of thisjudgment.The sentence is imposed
pursuantto the Sentencing Reform A ctof 1984.
AIlrem aining counts are dism issed on the m otion ofthe governm ent.
lt is ordered thatthe defendantm ust notify the United States attorney for this districtwithin 30 days of any
change ofname,residence,orm ailing addressuntilallfines, restitution,costs,and specialassessm ents im posed
bythisjudgmentarefullypaid.lforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStates
attom ey ofm aterialchangesin econom ic circumstances.




                                                            DateofImposition ofSentence:5/17/2017


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                                                            Fed Ico A .- oreno
                                                            Unlted States D istrictJudge


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DEFENDANT:M ARTIN EBENHACK
CASE NUM BER:16-20869-CR-M ORENO

                                                             IM PR ISO N M EN T

The defendantishereby comm itted to thecustody oftheUnited StatesBureau ofPrisonsto be imprisoned fora
totalterm of 72 M ONTHS.
Thedefendantisrem anded to thecustody oftheUnited StatesM arshal.

                                                                 R ETU RN
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on            -         -                                 to

at                                                      ,   withacertifiedcopyofthisjudgment.




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                                                                    D EPU TY UN ITED STA TES M AR SH A L
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DEFEN D AN T:M A R TIN EB EN H A CK
CA SE N UM BER :16-20869-C R-M O R EN O

                                                    SUPERV ISED RELEA SE

Upon release from imprisonm ent,thedefendantshallbeon supervised release fora term of15 years.
The defendantmustreportto the probation office in thedistrictto which the defendantisreleased within 72 hoursofrelease
from the custody ofthe Bureau ofPrisons.
The defendantshallnotcom m itanotherfederal, state orlocalcrime.
The defendantshallnotunlawfully possess a controlled substance. The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto one drug testwithin 15 daysofrelease from im prisonm entand atleast
two periodic drug teststhereafter,asdeterm ined by thecourt.
The defendantshallnotpossessa irearm ,am m unition,destructivedevice,orany otherdangerousweapon.
The defendantshallcooperate in theeollection ofDN A asdirected by the probation oflcer.

lfthisjudgmentimposesafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayin accordance
withtheScheduleofPaymentssheetofthisjudgment.
Thedefendantmustcom ply w ith the standard conditionsthathave been adopted by thiscourtaswellaswith any additional
conditionson the attached page.
                                    STANDARD CONDITIONS OF SUPERVISION
   l.Thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofficer;
   2.Thedefendantshallreporttotheprobationofficerand shallsubmitatruthfuland completewritten reportwithinthetirstfiheen
      daysofeach month;
   3.Thedefendantshallanswertruthfully allinquiriesby theprobationofficerand follow theinstructionsoftheprobationofficer;
   4.Thedefendantshallsupporthisorherdependentsand meetotherfamily responsibilities;
   5.Thedefendantshallworkregularly ataIawfuloccupation,unlessexcusedby theprobationofficerforschooling,training,or
      otheracceptablereasons;
   6.Thedefendantshallnotifytheprobation officeratIeastten dayspriorto anychange in residenceoremployment'    ,
   7.Thedefendantshallrefrain from excessiveuseofalcoholand shallnotpurchase,possess, use,distribute,oradministerany
      controlled substanceorany paraphemaliarelatedto any controlled substances,exceptasprescribed by aphysician;
   8.Thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold, used,distributed,oradministered;
   9.Thedcfendantshallnotassociatewithanypersonsengaged in criminalactivityand shallnotassociatewithanyperson convicted
      ofafelony,unlessgranted pennissionto do so bytheprobationofficer;
   l0.Thedefendantshallpennitaprobation officertovisithim orheratany timeathom eorelsewhereand shallperm itcontiscation
      ofany conkabandobserved in plain view oftheprobation offker;
   11.Thedefendantshallnotifytheprobationofficcrwithin seventy-twohoursofbeing arrestedorquestionedby alaw enforcement
      om cer;
   12.Thedefendantshallnotenterinto any agreementto actasan informeroraspecialagentofalaw enforcementagency withoutthe
      perm ission ofthecourt;and
   l3.A sdirected by theprobation oftk er,thedefendantshallnotifythird partiesofrisksthatm aybeoccasionedby thedefendant's
      criminalrecord orpersonalhistory orcharacteristicsand shallpennittheprobation offkertomakesuch notificationsand to
      confinnthedefendant'scom pliancew ith suchnotificationrequirement.




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DEFENDANT:M ARTIN EBENH ACK
CASE NUM BER:16-20869-CR-M ORENO

                             A D DITIO N A L ST AN DA R D C O N D ITIO N S O F SU PER VISIO N

C om puter Possession R estriction

No C ontactw ith M inors

Sex OffenderRegistration
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DEFEN DANT:M ARTIN EBENHACK
CA SE N U M BER:16-20869-C R-M O R EN O

                                      SPECIAL CONDITIONS OF SUPERVISION

ComputerPossession Restriction -Thedefendantshallnotpossessoruseany computer;exceptthatthe
defendantm ay,w ith the priorapprovalofthe Court, useacomputerin colmection with authorized employment.

N o Contactw ith M inors-The defendantshallhave no personal, m ail,telephone,orcom putercontactw ith
children/minors(supervisionrequiredwithgrandchildren)orwiththevictims.
Sex OffenderRegistration -Thedefendantshallcomply with therequirementsofthe Sex OffenderRegistration
andNotificationAct(42U.S.C.j 16901,etseq.)asdirectedbytheprobationofficer,theBureauofPrisons,or
any statesex offenderregistration agency in whichheorsheresides,works,isastudent, orwasconvicted ofa
qualifying offense.
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DEFEN DANT:M ARTIN EBENHACK
CASE NUM BER:16-20869-CR-M O RENO

                                          CR IM INA L M O NE TAR Y PEN A LTIES

The defendantmustpay thetotalcrim inalmonetary penaltiesunderthe scheduleofpaym entson Sheet6.
                                  A ssessm ent             Fine                 Restitution
          TOTALS                              $5,100.00              $0.00            $18,000.00
Thedefendantmustmakerestitution (includingcommunity restitution)totheattached Iistofpayeesin the
am ountIisted below .
If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherw ise in the priority order or percentage paym ent colum n below .H ow ever,
pursuantto18 U.S.C.j3664(1),alInonfederalvictimsmustbepaid beforetheUnited Statesispaid.
NA M E O F PA YE E                                        T O TA L   RE STITU TIO N      PR IO R ITY O R
                                                          LOSSw      0R9 suss            psucsxTxcE
* Findingsforthetotalamountoflossesare required underChapters 109A ,110,1IOA,and 113A ofTitle 18 for
offensescommitted on orafterSeptem ber 13,1994,butbefore April23,1996.
**Assessm entdue im m ediately unless otherw ise ordered by the Court.
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    DEFENDANT:M ARTIN EBENH ACK
    CA SE N UM BER :16-20869-CR -M O REN O

                                                          SCH ED ULE O F PAY M EN TS

    H aving assessed the defendant's ability to pay, paym ent of the total crim inal m onetary penalties is due as
    follow s:
    A.Lum p sum paym entof$100.00 dueim m ediately.

    Unlessthecourthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
    m onetary penalties is due during imprisonment.Al1criminalmonetary penalties,exceptthose payments made
    through the FederalBtzreau ofPrisons'Inm ate FinancialResponsibility Program ,are m ade to the clerk ofthe
    court.

    The defendant shallreceive credit for al1payments previously made toward any criminalm onetary penalties
    im posed.
    Thisassessment/tine/restitution ispayableto theCLERK,UNITED STATES COURTS and isto beaddressed to:
    U.S.CL ER K 'S O FFIC E
    ATTN :FINA N CIA L SECT IO N
    400 N O R TH M IA M I A V ENU E,R O O M 08N 09
    M IA M I,FLO RID A 33128-7716
    The assessm enffine/restitution ispayable im mediately.The U.S.Bureau of Prisons,U .S.Probation Office and
    theU.S.Attorney'sOffice areresponsiblefortheenforcem entofthisorder.

    Defendantand Co-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmotmt,Jointand
    SeveralA m ount,and cprresponding payee,ifappropriate.
    CA SE NU M BER                                                                            JO IN T A N D SEVER AL
    DEFE ND A NT A N D C O -DEFEN D A N T NA M E S                         TO TA L A M O U NT A M O UN T
    (INCLUDING DEFENDANT NUM BER)
    The G overnm entshallflle a prelim inary order offorfeiture w ithin 3 days.
    Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
    (4)fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostof
    prosecution and courtcosts.




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